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               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                         CENTRAL DIVISION
-------------------------- x
DYLAN BRANDT, et al.,      :
                           :
                Plaintiff, :
                           :
           v.                Case No. 4:21-CV-00450-JM
                           :
LESLIE RUTLEDGE, et al.,   :
                           :
                Defendant. :
-------------------------- x

BRIEF IN SUPPORT OF MOTION TO EXCLUDE EXPERT TESTIMONY
                OF DR. PATRICK W. LAPPERT
             Plaintiffs challenge a law banning gender-affirming medical procedures

to treat adolescents with gender dysphoria. They argue that the challenged law

prohibits treatments that, based on scientific research and decades of clinical

experience, are widely recognized in the medical community as safe and effective.

Plaintiffs also allege that by cutting off patients’ access to needed care, the challenged

law would cause serious harms to the minor plaintiffs and transgender adolescents

throughout Arkansas. See, e.g., Mem. Supp. Pls.’ Mot. Prelim. Inj. 40–43, 57–61,

ECF No. 12. To defend the law, the State asserts an interest in protecting minors from

what it contends are unnecessary, harmful, and experimental treatments that, they

claim, lack evidence of effectiveness. See, e.g., Defs.’ Combined Br. Opp’n Pls.’ Mot.

Prelim. Inj. 1–2, 34, ECF No. 44. At trial, the Court will be tasked with resolving
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factual disputes regarding medical treatments for adolescents with gender dysphoria,

which will largely turn on expert testimony.

             Defendants offer Dr. Patrick W. Lappert to provide expert testimony

regarding the diagnosis and treatment of gender dysphoria. In his report and rebuttal

report, he challenges the validity of the diagnosis of gender dysphoria and offers a

range of opinions about the treatment of gender dysphoria, including his views about

the proscribed hormonal treatments, assertions about the lack of psychological

benefits of the prohibited hormonal and surgical treatments, and the claim that valid

informed consent for such treatments cannot be obtained. But Dr. Lappert—a

surgeon who has no training or experience related to the diagnosis or treatment of

patients with gender dysphoria—lacks the qualifications necessary to offer opinions

on these topics.1

             Federal Rule of Evidence 702 requires that before a witness may offer

expert testimony, they must be qualified as an expert in the subject matter of their

testimony. Dr. Lappert fails to clear that hurdle, and his testimony regarding the

diagnosis and treatment of gender dysphoria—apart from any opinions related to

risks or complications from surgeries—should be excluded.




1
      Plaintiffs are not challenging Dr. Lappert’s qualifications to offer testimony about risks
      and complications associated with surgical treatments for gender dysphoria.

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             Earlier this month, a court in a case involving gender-affirming medical

care rejected Dr. Lappert’s testimony on these very topics, holding that “[Dr.]

Lappert is not qualified to render opinions about the diagnosis of gender dysphoria,

. . . the efficacy of puberty blocking medication or hormone treatments, the

appropriate standard of informed consent for mental health professionals or

endocrinologists, or any opinion on the non-surgical treatments obtained by

Plaintiffs.” Kadel v. Folwell, 2022 WL 2106270, at *13 (M.D.N.C. June 10, 2022).

That conclusion was correct. As discussed below, Dr. Lappert lacks training and

experience in the diagnosis or provision of care to patients with gender dysphoria.

Indeed, at his deposition, Dr. Lappert agreed that he does not “claim to be an expert”

in the diagnosis or treatment of gender dysphoria (Exhibit 4, Deposition of Patrick

W. Lappert (Brandt), at 29:10–12; 46:11–13, May 6, 2022), and expressed that “it’s

not [his] area of care.” (Exhibit 4, at 150:19–151:2.)

                                  BACKGROUND
             In his report and rebuttal report in this case, Dr. Lappert offers a number

of opinions related to the diagnosis and treatment of gender dysphoria.

             Dr. Lappert challenges the validity of the diagnosis of gender

dysphoria, which is the psychiatric condition the proscribed treatments are provided

to address. He asserts that “[t]ransgender is a subjective diagnosis made by the

patient, that is not accessible to objective clinical, laboratory, or radiologic

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confirmation by the treating physician.” (Exhibit 2, Expert Report of Patrick W.

Lappert, M.D. (“Report”) ¶ 47; see also id. ¶ 30 (asserting that there is “no objective

diagnostic test for transgender”).) At his deposition, Dr. Lappert testified that he

does not believe that gender dysphoria is an actual diagnosis, but rather, believes it

is a symptom of body dysmorphic disorder (Exhibit 4, at 133:5–134:8), and believes

being transgender can be a “delusion.” (Exhibit 4, at 120:17–121:4; 222:4–222:18;

252:11–252:14.)

             Dr. Lappert also offers a range of opinions related to the treatment of

gender dysphoria. First, he offers opinions about hormonal therapies—puberty

blockers and cross-sex hormone therapy—as treatments for gender dysphoria.

Specifically, he opines that scientific research fails to show benefits of such

treatment (Exhibit 3, Rebuttal Expert Report of Patrick W. Lappert, M.D. (“Rebuttal

Report”) ¶¶ 4a–c, 11, 12, 15), and he offers opinions about the reversibility of these

hormonal treatments. (Exhibit 3, ¶¶ 13, 14.)

             Second, Dr. Lappert offers opinions about what he claims are the lack

of psychological benefits of gender-affirming surgery. (Exhibit 2, ¶¶ 30, 34–35, 50;

Exhibit 3, ¶¶ 16–27; see Exhibit 3, ¶ 16 (“The plaintiffs’ experts make the claim that

surgical procedures performed on adolescents have been shown to improve mental

health. Evidence does not support this claim.”))

             Third, Dr. Lappert offers opinions about whether informed consent can

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be validly obtained for gender-affirming medical care for adolescent patients. He

asserts that it cannot, largely based on his opinions about the lack of validity of the

gender dysphoria diagnosis and the lack of efficacy of the care. (Exhibit 2, ¶¶ 30,

35; Exhibit 3, ¶¶ 4b, 8–15.)


                               LEGAL STANDARD

             Federal Rule of Evidence 702 places a special “gatekeeping role” on

district courts. Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597 (1993). To

be admissible under Rule 702, expert testimony must satisfy three requirements:

“First, evidence based on scientific, technical, or other specialized knowledge must

be useful to the finder of fact in deciding the ultimate issue of fact”; “Second, the

proposed witness must be qualified to assist the finder of fact”; “Third, ‘the proposed

evidence must be reliable or trustworthy in an evidentiary sense, so that, if the finder

of fact accepts it as true, it provides the assistance the finder of fact requires.”

Lauzon v. Senco Prods., Inc., 270 F.3d 681, 686 (8th Cir. 2001) (citing Daubert, 509

U.S. at 591). “The proponent of the expert testimony must be able to prove its

admissibility by a preponderance of the evidence.” Id. (citing Daubert, 509 U.S. at

592).

             One of Daubert’s most important functions is ensuring that witnesses

do not speak on matters that go “beyond the expert’s expertise.” Am. Auto. Ins. Co.

v. Omega Flex, Inc., 783 F.3d 720, 724 (8th Cir. 2015) (citing Weisgram v. Marley
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Co., 169 F.3d 514, 520–521 (8th Cir. 1999)). When an expert “lack[s] the education,

employment, or other practical personal experiences to testify as an expert” on a

specific topic, their opinions should be excluded. Wheeling Pittsburgh Steel Corp.

v. Beelman River Terminals, Inc., 254 F.3d 706, 716 (8th Cir. 2001); see also Khoury

v. Philips Med. Sys., 614 F.3d 888, 893 (8th Cir. 2010) (holding that an expert

witness cannot opine on topics for which he or she lacks any “training, education, or

experience”). “[T]he trial judge must determine whether the testimony has a reliable

basis in the knowledge and experience of the relevant discipline.”          Smith v.

Rasmussen, 249 F.3d 755, 759 (8th Cir. 2001) (emphasis added) (quoting Kumho

Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 149 (1999)). Accordingly, courts must

exclude testimony whenever the witness is “not well-versed in the particular

discipline relevant to their testimony.” Id.

                                   ARGUMENT

             Defendants seek to offer expert opinions from Dr. Lappert on the

diagnosis and treatment of gender dysphoria, but Dr. Lappert is not qualified to opine

on these topics because he lacks the necessary training or experience.

             Dr. Lappert lacks training related to the diagnosis and treatment of

gender dysphoria. He is not a psychologist or psychiatrist, or a mental health

provider of any kind. (Exhibit 1, Deposition of Patrick W. Lappert (Kadel), at

65:22–68:20, 157:14–158:12, Sept. 30, 2021; Exhibit 4, at 133:25, 135:6–8 (Dr.

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Lappert is “not testifying as a psychiatrist.”).) Nor is he an endocrinologist. (Exhibit

4, at 62:15–17.) Dr. Lappert admitted that he is not qualified to provide care to

patients seeking puberty blockers and hormone therapy to treat gender dysphoria.

(Exhibit 4, at 300:7–9.) In fact, the only education or training he has ever received

regarding gender dysphoria was a half-day weekend course. (Exhibit 4, at 135:9–

24.) This is not sufficient training to qualify him as an expert on the diagnosis and

treatment of gender dysphoria. See Khoury, 614 F.3d at 893.

             Dr. Lappert also lacks experience in the diagnosis or treatment of

gender dysphoria. He has never diagnosed someone with gender dysphoria because

“it’s not [his] area of care.” (Exhibit 4, at 150:19–151:2.) And Dr. Lappert has never

conducted or published research relating to gender dysphoria, the treatment of

gender dysphoria, or any research about transgender people more generally.

(Exhibit 4, at 138:3–10.) Of the six articles that he has published, none were about

gender dysphoria. (See generally Exhibit 1, at 129–134.)

             Dr. Lappert has no training or experience that would qualify him as an

expert in the diagnosis or treatment of gender dysphoria, and he candidly admitted

that he does not “claim to be an expert” on these subjects. (Exhibit 4, at 29:10–12;

46:11–13.)

             The fact that Dr. Lappert is a physician does not qualify him to offer

expert testimony on any medical question. In Smith, “an experienced, board-

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certified general psychiatrist” was not deemed qualified to opine on “the

effectiveness and necessity of sex reassignment surgery.” 249 F.3d at 758. In

excluding the expert’s testimony on those topics, the district court cited the expert’s

lack of “expertise in the specialized discipline of gender identity disorder.” Id. at

758–759 (emphasis added) (referring to a diagnosis that preceded gender dysphoria).

The Eighth Circuit affirmed that ruling. Id.; see also O’Conner v. Commonwealth

Edison Co., 807 F. Supp. 1376, 1390 (C.D. Ill. 1992), aff’d, 13 F.3d 1090 (7th Cir.

1994) (noting that a “medical doctor” is not “automatically an expert in every

medical issue merely because he or she has graduated from medical school or has

achieved certification in a medical specialty”).

              Plaintiffs do not contest Dr. Lappert’s qualifications to opine on risks

or complications associated with surgeries. But being a plastic surgeon does not

qualify him to testify about the validity of a psychiatric diagnosis. Nor does it

qualify him to testify about the psychological benefits of hormonal or surgical

treatments for this gender dysphoria, or offer any testimony about hormonal

treatments.

              In his report, Dr. Lappert lists as “credentials” the fact that he has

“consulted with families with children who are experiencing gender discordance,”

and “given many presentations to professional meetings of educators and counselors

on the subject of transgender medicine and the present state of the science and

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treatment.” (Exhibit 2, ¶ 7.) But the “consultations with families” he referred in his

report to turned out to be conversations with three families from his parish, two of

which took place in the parish library, in his capacity as the deacon of the parish.

(Exhibit 4, at 151:10–153:12; 250:13–250:22; 302:23–303:23.)                          And his

presentations on transgender medicine, which he titled “Transgender Christian

Anthropology,” were to religious audiences and included religious content. (Exhibit

4, at 32:16–34:9, 277:11–279:14.) They were not given to scientific or medical

professional audiences. This is not experience in the diagnosis or treatment of

gender dysphoria that satisfies the qualification requirements of Rule 702.2 See

Khoury, 614 F.3d at 893.

             Dr. Lappert stated in his report that in “formulat[ing] the opinions

expressed in this report, [he has] reviewed the medical literature.” (Exhibit 2, ¶ 8.)

His review of medical literature in a subject in which he has no training and in a field

in which he has no experience is plainly insufficient to qualify him as an expert. See

Smith, 249 F.3d at 759 (limiting the testimony of a doctor to testify on gender identity

issues “because [the doctor’s] testimony was based neither on his personal




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      Dr. Lappert’s report also includes “perform[ing] breast reversal surgery for detransitioning
      patients” as a “credential. (Exhibit 2, ¶ 7.) The fact that Dr. Lappert has provided such
      surgery—at his deposition, he testified that he only had one such patient (Exhibit 4, at
      38:16–38:20)—does not constitute experience in the diagnosis or treatment of gender
      dysphoria.

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experience nor on his knowledge of the relevant discipline,” and thus was “not well-

versed in the particular discipline relevant to [the doctor’s] testimony”); see also

Kadel, 2022 WL 2106270, at *9 (“Merely reading literature in a scientific field does

not qualify a witness—even an educated witness.”). Because Dr. Lappert’s opinions

regarding the diagnosis and treatment of gender dysphoria are well outside his

training and experience, they should be found inadmissible under Rule 702.

                                 CONCLUSION
             Dr. Lappert lacks qualifications to offer expert opinions about the

validity of the diagnosis of gender dysphoria and the treatment of adolescents with

gender dysphoria, including his opinions about hormonal therapies to treat gender

dysphoria, his opinion that there is a lack of psychological benefits of hormonal and

surgical treatments, and his opinion that valid informed consent for such treatments

cannot be obtained.

             Dr. Lappert seeks to offer opinions on the same topics that he was

precluded from testifying about in Kadel. 2022 WL 2106270, at *13. Nothing about

this case warrants a different outcome, and Dr. Lappert’s testimony regarding the

diagnosis and treatment of gender dysphoria—with the exception of any opinions

about the risks or complications related to surgeries—should be excluded.




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Dated: June 22, 2022

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